Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 1 of 16 Page ID #:195



 1   DIETER C. DA4VIMIER, SBN 188789
     dieterAppliceattomey.com
 2   MIC1--WEL
          1,      A. MCGILL, SBN 231613
     mcg,ilWxoliceattorney.com
 3   MICHAEL A. MORGUESS, SBN 192838
     morguess@policeattorney.com
 4   LACKIEMAMMEIER & MCGILL APC                                          -   v
     367 North Second Avenue
 5   Upland, CA 91786
     Telephone: (909) 985-4003
 6   Facsimile: (909) 985-3299
 7   Attorneys for Plaintiff
     REHAN NAZIR
 8

 9                         UNITED STATES DISTRICT COURT
10                       CENTRAL DISTRICT OF CALIFORNIA
11

12
     REHAN NAZIR,                                   Case No. 12 CV 03310 JAK
                                                    (ARGx)
                               Plaintiff.
14
                  VS.                               AMENDED FEDERAL
15                                                  COMPLAINT FOR DAMAGES,
     CITY OF TORRANCE a municipal                   INJUNCTIVE RELIEF, AND
16   corporation; JOHN J. N'EU, individually        MANDATE
     and as Chief of Police of the City of
17   Torrance Police Department; DOES 1
     THROUGH 30,
18
                                Defendants.
19

20

21

22

23

24

25

26                             [LEFT BLANK INTENTIONALLY]
27

28




                                               I


                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 2 of 16 Page ID #:196




           1. Plaintiff REHAN NAZIR (hereinafter "PLAINTIFF" or "NAZIR") is an
    individual and resident of Los Angeles County. At all relevant times unless
    otherwise mentioned herein, Nazir was employed by Defendant City of Torrance
    in the capacity of police officer with the Torrance Police Department. NAZIR is a
   permanent police officer for the CITY OF TORRANCE and as such has a
    constitutionally cognizable property interest in his position. At all relevant times
    unless otherwise mentioned herein, NAZIR was a peace officer as defined by
    California Penal Code Section 830.1, and therefore is and was entitled to the
    protections of the Public Safety Officers Procedural Bill of Rights Act (Cal. Govt.
    Code Section 3300 et seq.), and further he completed the probationary period
    required by his employing agency, and thus could only be terminated for cause and
    therefore has a constitutionally cognizable property interest in his employment.
          2.     Defendant CITY OF TORRANCE ("CITY") is a duly constituted
    municipal corporation operating under the laws of the State of California, wholly
    situated in the County of Los Angeles. Torrance Police Department (hereinafter
    "Department") is an operating department of CITY. CITY is a public agency
    employer for purposes of the Public Safety Officers Procedural Bill of Rights Act
    (Cal. Govt. Code Section 3300 et seq.).
           3.    Defendant JOHN J. NEU ("NEU") is, and at all times herein
    mentioned was, the Chief of Police of the CITY Police Department. NEU is sued
    individually in his capacity as the Chief of Police. In doing the things alleged
    herein, NEU acted under color of state law, within the course and scope of his
    employment, and as an official policy-maker for the City. As a head of the Police
    Department, NEU is, and at all times herein mentioned was, vested with policy-
    making authority over actions such as the ones at issue in this complaint.
           4.    Plaintiff is ignorant of the true names and capacities of Defendants
    and DOES 1 through 30 sued herein, and therefore sues these Defendants by


                                               2


                                  AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 3 of 16 Page ID #:197



     fictitious names. Plaintiff is informed and believes, and thereupon alleges, that
     each of these fictitiously named Defendants is legally responsible, intentionally,
3    negligently, or in some other actionable manner, for the events and occurrences
4    described herein and thereby legally caused the injuries, damages, violations and
 5   deprivation of rights alleged herein. Plaintiff will amend this complaint and seek
 6   the true names and capacities of said fictitiously named Defendants when they
 7   have been ascertained.
 8         5.       At all times relevant herein, Defendants and DOES 1 through 30, and
 9   each of them, were acting under color of law, to wit, under the color of statutes,
10   ordinances, regulations, policies, customs, practices, and usages of Defendants as
11   appropriate and the State of California. Defendants and said DOE Defendants
12   were acting within the course and scope of their employment with CITY, and the
13   wrongful acts hereinafter described flow from their exercise of said authority. In
14   some circumstances, each Defendant was also acting as an employee, agent and
15   representative of each and every Defendant herein, and in doing the acts herein
16   alleged, was acting within the permission, consent, ratification, and authority of
17   their co-Defendants.
18          6.      On or about April 14, 2007, NAZIR and another CITY police officer
19   were working a patrol shift for CITY. During that shift, NAZIR and the other
20   police officer learned that a robbery had occurred at a local convenience store, and
21   learned the suspect's description.
22
            7.      Subsequent to learning of the robbery and suspect's description, and
23
     during the same patrol shift, NAZIR and the other police officer used a
24
     confidential informant to arrange a narcotics purchase from a suspected narcotics
25
     dealer.
26
               8.   Subsequent to arranging the narcotics transaction, and during the same
27
     patrol shift, NAZIR and the other police officer observed someone matching the
28




                                                3

                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 4 of 16 Page ID #:198



   description of the aforementioned robbery suspect in the vicinity of the same local
   convenience store that had been robbed, and who acted suspiciously.
          9.        The person NAZIR and the other police officer observed also
   generally matched the description of the person from whom the confidential
   informant arranged to purchase narcotics; however, NAZIR and the other police
   officer had not previously worked with this particular confidential informant and
   given the tenuous nature of developing and using such contacts, did not know if the
   confidential informant or the information provided by the informant were
   trustworthy, reliable or accurate, and therefore could not ascertain whether the
   person then and there observed was the suspect from the earlier reported robbery of
   the person from whom the confidential informant had arranged to purchase
    narcotics, or neither.
              10.   NAZIR and the other police officer decided to make contact with the
    observed person to ascertain whether he was the robbery suspect or the narcotics
    dealer.
              11.   Upon initiating a consensual encounter with the observed person,
    NAZIR and the other police officer determined he was the narcotics dealer from
    whom the confidential informant had arranged to purchase narcotics and placed
    him under arrest.
              12.   NAZIR and the other police officer reported the arrest, and a Sergeant
    from the CITY police department arrived to provide assistance at the scene of the
    arrest. NAZIR and the other police officer briefed the Sergeant on the details of
    the arrest, including the use of the confidential informant.
              13.   NAZIR prepared two Probable Cause Declarations ("PCD") detailing
    the probable cause supporting the contact and arrest, and an Arrest Report.
    Pursuant to training he received by CITY, and consistent with law enforcement
    professional standards and customs, and case law, he omitted information

                                                4

                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 5 of 16 Page ID #:199



 1   concerning use of the confidential informant because he had independent probable
2    cause to make contact with, detain, and arrest the observed person. The PCD and
3    Arrest Report were reviewed with approval by the other police officer partnered
4    with NAZIR and the Watch Commander, who is a lieutenant. At no time has any
     person or entity disputed whether probable cause existed to make the contact or
 6
     arrest.
 7
               14.   Shortly thereafter, in or about the middle of April 2007, the District
 8
     Attorney's Office filed criminal charges against the person arrested (the
 9
     "Arrestee") by NAZIR and his partner; contemporaneous with the filing of said
10
     criminal charges, the District Attorney's Office was informed of the use of the
11
     confidential informant; nevertheless, the District Attorney's Office proceeded with
12

13   the prosecution of the Arrestee.

14             15.   In or about October 2008, in the course of a federal prosecution
15   against the Arrestee, his attorney learned of the use of a confidential informant and
16   moved to dismiss the case filed in state court against him by the District Attorney's
17   Office.
18             16.   In or about October 2008, the District Attorney's Office dismissed the
19   state case against Arrestee.
20             17.   On or about December 2008, CITY police department initiated
21   investigations of several of CITY's police officers who were involved in the arrest
22
     of Arrestee and concerning the arrest; however, although fully aware of the
23
     omission of the use of the confidential informant from the PCD and Arrest Report,
24
     Plaintiff is informed and believes the CITY also investigated NAZIR or sought to
25
     discipline him at that time; and none of the other investigated police officers were
26
27   disciplined.
               18.   On February 2, 2009, the District Attorney's Office, through its
     Bureau of Prosecution Support Operations, Brady Compliance Unit, notified

                                                   5


                                     AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 6 of 16 Page ID #:200



 1    NAZIR that the Brady Compliance Unit had conducted an investigation and
2     determined that the PCD and Arrest report concerning Arrestee contained false
 3    information because it failed to contain information concerning use of the
4     confidential informant; that it considered its findings to constitute "Brady
 5
      material," and the notice indicated that as a result thereof, NAZIR was being
 6
      placed in the District Attorney's Office's "Brady Alert System."
 7
             19.   Plaintiff is informed and believes, and upon such information and
 8
      belief alleges that "Brady material" refers to a prosecuting authority's discovery
 9
      obligations pursuant to the United States Supreme Court case of Brady v.
10
      Maryland (1963) 373 U.S. 83 ("Brady"). Generally, Brady requires prosecutors to
11
      disclose to the defense evidence favorable to a defendant which is either
12
13
      exculpatory or impeaching and is material to either guilt or punishment;

14    suppression by the prosecution of evidence favorable to an accused upon request
15    violates due process where the evidence is material either to guilt or punishment.
16          20.     Plaintiff is informed and believes, and upon such information and
17    belief, alleges that pursuant to Special Directive 02-08 promulgated by County of
18    Los Angeles and District Attorney's Office the County and District Attorney's
19    Office have created a "Brady Alert System" which is operated and maintained by
20    the Brady Compliance Division and/or Brady Compliance Unit, which serves as a
21    central repository for Brady material and coordinates and makes available to
22
      deputy district attorneys Brady material on peace officers, including police officers
23
      such as NAZIR, and governmentally employed expert witnesses.
24
             21.   Plaintiff is informed and believes, and upon such information and
")5
      belief, alleges that every deputy district attorney of the District Attorney's Office
26
      can access the Brady Alert System to determine whether information about a
27
28
      particular witness exists.



                                                 6

                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 7 of 16 Page ID #:201



             22.   There is no obligation of law which requires the District Attorney's
   Office to maintain the Brady Alert System; its creation is a matter of convenience.
             23.   In its February 2, 2009, notice to NAZIR, the Brady Compliance Unit
   informed NAZIR that he was permitted to file written objections and submit
   additional written information to Senior Special Assistant Lawrence Mason of the
   District Attorney's Office who would make the final decision as to whether
   NAZIR was to be placed in the Brady Alert System. The notice concluded that i f
   placed in the Brady Alert System, NAZIR's employer would be so notified. The
    procedures described in this paragraph were taken pursuant to Special Directive
    02-08.
             24.   On or about April 23, 2010, NAZIR submitted his written objections
    and further information in an attempt to have his name removed from the Brady
    Alert System and to dispute the initial findings by County of Los Angeles and
    District Attorney's Office of dishonesty and conduct involving moral turpitude.
    NAZIR was not permitted to appear before Lawrence Mason, present live
    testimony, or cross-examine witnesses, or able to review all of the materials and
    information upon which the District Attorney's Office relied; nor was the District
    Attorney's Office required to carry any burden or present a case-in-chief in support
    of placement into the Brady Alert System.
             25.   On June 3, 2010, Senior Special Assistant Mason rendered the final
    administrative decision on behalf of the District Attorney's Office and determined
    that there is substantial evidence that Brady material exists and that such
    information be placed into the District Attorney's Brady Alert system. More
    specifically, Mason determined that NAZIR was the primary subject of the internal
    investigation by CITY concerning Arrest of Arrestee; that NAZIR falsified the
    Arrest Report and PCDs; that his conduct involved moral turpitude; and that Brady



                                                7


                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 8 of 16 Page ID #:202



 1   material exists and that such information should be placed into the County and
2    District Attorney's Office's Brady Alert System.
3          26.    On or about June 10, 2010, the Brady Compliance Unit of the District
4
     Attorney's Office notified Defendants CITY (NAZIR's employer) and Chief of
 5
     Police NEU of the final administrative decision by MASON, who the District
 6
     Attorney's Office identified as a neutral third party, of placing NAZIR in the
 7
     Brady Alert System.
 8
           27.    On or about August 16, 2010, CITY, through Defendant NEU, issued
 9
     a notice to NAZIR of CITY's intent to terminate NAZIR based on a finding that
10
     NAZIR made false statements in two PCDs and the Arrest Report prepared in
11

12
     connection with arrest of the Arrestee, and additionally purported to base the

13
     termination on the determination to place NAZIR's name in the Brady Alert

14   System, and additionally purported to base the termination on the alleged prospect
15   that the District Attorney's Office may not file cases in which NAZIR is involved.
16   On September 9, 2010, CITY terminated NAZIR purportedly based on these same
17   reasons. Plaintiff is informed and believes, and upon such information and belief,
18   alleges that such purported reasons on placement in the Brady Alert System and
19   the alleged District Attorney's Office purported statement that it might not file
20   cases in which Nazir is involved, were pretextual.
21         28.    Plaintiff is informed and believes, and upon such information and
22
     belief, alleges that based upon the City's purported reasons for his termination,
23
     placement in the Brady Alert System could serve to effectively blacklist NAZIR
24
     from further employment as a peace officer in that no law enforcement agency will
25
     hire him so long as he remains on the District Attorney's Office Brady Alert
26
     System list. However, Plaintiff is informed and believes, and based upon such
27
     information and belief, alleges that other peace officers who have been placed into
28
     the Brady Alert System or other similar systems, are still employed by other police

                                               8


                                  AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 9 of 16 Page ID #:203



 1   agencies, as well as the City of Torrance, nor has any other officer even been
 2   terminated, presently or in the past, solely because they were in such Brady or
 3   other system.
 4

 5
                                 FIRST CAUSE OF ACTION
 6
                       California Government Code §§ 3304(d); 3309.5 —
 7
                             As Against Defendants CITY and NEU
 8
           29.    Plaintiff hereby incorporates each and every preceding paragraph as
 9
     though fully set forth herein.
10
           30.    Plaintiff is a peace officer as that term is defined in California
11

12
     Government Code Section 3301 and is therefore entitled to the rights and

13
     protections of the Public Safety Officers Procedural Bill of Rights Act ("Act")

14   (Cal. Govt. Code § 3300 et seq.).
15         31.    Although as early as April 2007, and no later than October 2008,
16   CITY and NEU were aware of all facts and circumstances of the PCDs and Arrest
17   Report concerning the arrest of Arrestee, as well as omission by NAZIR of the
18   information concerning the confidential informant from the PCDs and Arrest
19   Report, it did not investigate and notify NAZIR of the intent to terminate or
20   otherwise discipline him based upon said conduct until June 2010.
21          32.      California Government Code Section 3304(d) provides that, with
22
     certain exceptions not applicable herein, no punitive action shall be undertaken for
23
     any act, omission, or other allegation of misconduct if the investigation of the
24
     allegation is not completed within one year of the public agency's discovery by a
25
     person authorized to initiate an investigation of the allegation of an act, omission,
26
     or other misconduct; in the event the public agency determines that discipline may
27
     be taken, it shall complete its investigation and notify the police officer of its
28
     proposed disciplinary action within that year.

                                                 9

                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 10 of 16 Page ID #:204



 1          33.    Defendants CITY and NEU were aware of the acts constituting the
 2   misconduct for which they now propose NAZIR's termination, more than one year
 3   prior to proposing NAZIR's termination, and therefore the proposed termination
 4
     violates California Government Code Section 3304(a).
 5
            34.    California Government Code Section 3309.5(c) authorizes this court
 6
     to have initial jurisdiction over this action without requiring Plaintiff to first
 7
     exhaust any administrative remedies.
 8
            35.    Plaintiff seeks extraordinary relief, in the form of this Court's writ of
 9
     mandate, or injunctive relief, pursuant to California Government Code Section
10
     3309.5(d)(1), enjoining CITY and NEU from disciplining Plaintiff based on the
11
12
     acts, omissions, or other allegations of misconduct concern the arrest of Arrestee,

13   the PCDs and Arrest Report, and seeks any incidental back pay and benefits as a
14   result of the issuance of the writ of mandate.
15
16                                SECOND CAUSE OF ACTION
17           Negligent Training and Supervision — As Against CITY and NEU
18          36.    Plaintiff hereby realleges and incorporates by reference each and
19   every preceding allegation as though fully set forth herein.
            37.    The basis for Plaintiff's termination is purported conduct that he was
21
     trained, educated and told to perform. More specifically, from the start of his
22
     career at CITY, Plaintiff was trained, educated and told to protect the identity of a
23
     confidential informant by omitting any reference of the informant in any given
24
     arrest and/or declaration.
25
            38.    Plaintiff was specifically trained, educated and told to always indicate
26
     a different basis for probable cause to make contact with a suspect. Plaintiff was
27
28   taught and trained before filing a major narcotics case with the District Attorney's
     Office to inform the District Attorney's Office of the involvement of such an

                                                 10

                                    AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 11 of 16 Page ID #:205



 1   informant. If the Plaintiff was to testify in any case where an informant was
     utilized, the Plaintiff would then have the right to have an in-camera hearing with
 3   the prosecuting attorney and the judge to let the judge know in regards to the
 4
     informant, which is also covered under California Evidence Code Section 1040-
 5
     1042. This was taught to Plaintiff by his training officers, superiors, other
 6
     officers, and NEU. In addition, Plaintiff was provided on-the-job training to this
 7
     effect.
 8
               39.   On August 16, 2010, Plaintiff was notified of the CITY's intent to
 9
     terminate his employment with the CITY for performing his job in the manner in
10
     which he was trained, educated and taught to do so.
11
               40.   Defendants negligently trained Plaintiff, and negligently retained
12

13
     individuals who negligently trained Plaintiff in a manner that has caused him

14   significant damages.
15             41.   On August 25, 2010, Plaintiff filed a claim concerning the above with
16   the CITY pursuant to the Government Claims Act (Cal. Govt. Code Section 905 et
17   seq.).
18             42.   On September 9, 2010, Plaintiff was terminated for the reasons stated
19   in the August 16, 2010, notice of intent to terminate.
20             43.   On October 1, 2010, CITY denied Plaintiff's claim for unstated
21   reasons.
22
               44.   On November 24, 2010, Plaintiff filed a complaint in the Central
23
     District of California for the United States District Court containing the herein
24
     allegations, causes of action, and prayer for relief ,. the herein causes of action were
25
     stayed pending resolution of other causes of action, and subsequently, on October
26
     6, 2011, the District Court issued an order declining to exercise supplemental
27
28
     jurisdiction over the herein claims, said order to be effective 30 days therefrom;
     therefore, this complaint is timely.

                                                 11


                                     AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 12 of 16 Page ID #:206



           45. Plaintiff has exhausted all available administrative remedies
     concerning this claim.


4                              THIRD CAUSE OF ACTION
 5
                                   Against All Defendants
 6
           Violation of Equal Protection under the United States and California
 7
                                         Constitutions
 8
            46.    Plaintiff realleges each and every preceding paragraph as though fully
 9
     set forth herein.
10
            47.    There are peace officers employed by the City of Torrance who are in
11
     the Brady Alert System who are terminated by the City solely because of such
12

13
     status (such as Plaintiff), and there are peace officers who have so called Brady

14   material in their personnel files, and who otherwise qualify to be placed into the
15   Brady Alert System, but who have not been placed in the Brady Alert System, and
16   said Brady material would still need to be disclosed to a defendant in a criminal
17   case; however, the peace officers who do have Brady material in their personnel
18   files, and are qualified for placement in the Brady Alert System (but are not
19   actually placed into the Brady Alert System by the District Attorney) are not
20   terminated due to the same qualifying Brady material.
21                 Because other peace officers from other police agencies, as well as
            48.
22
     from the City of Torrance, who have Brady material in their personnel files,
23
     otherwise qualify for placement into the Brady Alert System, but have not been
24
     placed into said system by the District Attorney, have not been terminated solely as
25
     a result of said qualifying Brady material, either presently or at any time in the
26
     past, as alleged upon information and belief above, then if indeed the City of
27
     Torrance and Neu's reasons for terminating Plaintiff, as purported by Defendants,
28
     placement into the Brady Alert System, have violated the Equal Protection Clauses

                                                12

                                   AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 13 of 16 Page ID #:207



    of the United States and California Constitutions by treating Plaintiff and others
    similarly situated (those in the Brady Alert System) differently from similarly
    situated persons (peace officers with qualifying Brady material who simply have
    not been placed into the Brady Alert System). This has resulted in a resulting loss
    of income and benefits, pain and suffering, and emotional distress.
          49.    The acts and omissions of Defendants, and each of them, were done
    by Defendants under color of state law in their capacity as a municipality
    organized under state law, and as policy making authorities to which Defendant
    City delegated its governing powers in the subject matter areas in which these
    policies were promulgated or decisions taken or customs and practices followed.
          50.    The acts and omissions described above were taken by Defendant
    CITY's official policy makers as members charged with such responsibility. It
    was or should have been plainly obvious to any reasonable policy making official
    of Defendant CITY that the acts and omissions of Defendants as alleged herein,
    taken singly or in conjunction, directly violated and continued to violate Plaintiff's
    clearly established constitutional and statutory rights. In doing the things alleged
    herein, Defendants acted with malicious intent to violate Plaintiff's rights, or at
    least in conscious, reckless, and callous disregard of Plaintiff's rights and to the
    injurious consequences likely to result from a violation of said rights. General,
    special, and exemplary damages are sought according to proof. Punitive damages
    are sought against the individual defendants, according to proof.
    //
    //
    //
    //
    //



                                               13


                                  AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 14 of 16 Page ID #:208



 1                                      PRAYER
 2        WHEREFORE, Plaintiff prays:
 3        1.    For general, special, exemplary and punitive damages according to
 4              proof on the Second and Third Causes of Action;
 5
          2.    For an injunction and/or writ of mandate enjoining Defendants CITY
 6
                and NEU from disciplining for the acts, omissions, or other
 7
                allegations of misconduct described in the August 16, 2010,
 8
                disciplinary notice issued by NEU and September 9, 2010,
 9
                disciplinary notice issued by CITY and for incidental backpay and
10
                benefits of employment;
11

12
          3.    For costs of suit;

13
          4.    For attorneys fees under California Government Code Sections 800,

14              1021.5 and 3309.5; 42 U.S.C. Section 1986, and as otherwise
15              permitted by law;
16        5.    For other appropriate relief.
17

18   Dated: May 3, 2012                    Respectfully Submitted,
19                                         LACKIE, DAMMEIER & MCGILL APC
20

21

                                           Michael A. Morguess
                                           Attorneys for Plaintiff,
                                           REHAN NAZIR
24



26

27

28




                                                14


                                 AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 15 of 16 Page ID #:209



                              DEMAND FOR JURY TRIAL
           Plaintiff hereby demands a jury trial under F.R. Civ. P., Rule 38 and C.D.
     Cal. Rule 3-6.(a)


     Dated: May 3, 2012                    Respectfully Submitted,
                                           LACKIE, DAMMEIER & MCGILL APC



                                           Michael A. Morguess
                                           Attorneys for Plaintiff,
                                           REHAN NAZIR




26
27
28



                                              15

                                 AMENDED FEDERAL COMPLAINT
Case 2:12-cv-03310-JAK-AGR Document 11 Filed 05/04/12 Page 16 of 16 Page ID #:210



                                           PROOF OF SERVICE
            I declare that I am over the age of eighteen (18) and not a party to this action. My
     business address is 367 North Second Ave., Upland, California 91786.
             On May 5, 2012, I served the following document described as AMENDED
4    FEDERAL COMPLAINT FOR DAMAGES, INJUNCTIVE RELIEF, AND MANDATE
     on the interested parties in this action by placing a true and correct copy of each document
 5   thereof, enclosed in a sealed envelope addressed as follows:
6    Attorneys for Defendants, City of Torrance and
7    John J Neu
     Mark H. Meyerhoff, Esq.
 8   mmeyerhoff@lcwlegal.com
     Joung H. Yim, Esq.
 9   jvimr&,Icwlegal.com
10   LIEBERT CASSIDY WHITMORE
     6033 W. Century Blvd., Ste 500
11   Los Angeles, CA 90045
     Tel: (310) 981-2000
12
     Fax: (310) 337-0837
13
           [X]   I am readily familiar with the business practice for collection and processing of
14               correspondence for mailing with the United States Postal Service. I know that the
                 correspondence was deposited with the United States Postal Service on the same
15
                 day this declaration was executed in the ordinary course of business. I know that
16               the envelope was sealed and, with postage thereon fully prepaid, placed for
                 collection and mailing on this date in the United States mail at Upland, California.
17
18     [
                 By Personal Service, I caused such envelope to be delivered by hand to the above
                 addressee(s).
19
                 By facsimile machine, I caused the above-referenced document(s) to be transmitted
20               to the above-named persons(s) at the following telecopy number:
21
                  By Overnight Courier, I caused the above referenced document(s) to be
22               delivered by an overnight courier (UPS) for delivery to the above
                 addressee(s).
23
24               I declare under penalty of perjury under the laws of the State of California that the
                 foregoing is true and correct. Executed May 4, 2012 at Upland, California.
25
26
27                                                                          Muriel Mateer

28




                                               PROOF OF SERVICE
